
614 So.2d 657 (1993)
M.H., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 91-00196.
District Court of Appeal of Florida, Second District.
February 26, 1993.
James Marion Moorman, Public Defender, and Karen K. Purdy, Asst. Public Defender, Bartow, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Carl R. Hayes, Asst. Atty. Gen., Tampa, for appellee.
PER CURIAM.
The appellant challenges the order adjudicating him guilty of burglary and grand theft. We agree with appellant's contention that the evidence was insufficient to convict him of the offense of grand theft. We affirm the sentence and conviction of burglary but reverse the conviction of grand theft.
The state charged appellant with committing the delinquent acts of burglary of a dwelling and grand theft. The trial court conducted an adjudicatory hearing. At the close of the state's evidence and at the close of all the evidence, the appellant moved for a judgment of acquittal on both charges. The trial court denied the appellant's motion. The trial court found appellant guilty of both burglary and grand theft. The trial court in its order of adjudication directed that appellant be continued in committed status. The trial court also *658 ordered appellant to make restitution. Appellant filed this timely appeal.
We find no error in the appellant's conviction on the burglary charge. We affirm the burglary conviction. However, there was insufficient evidence presented to convict appellant of grand theft, and we, accordingly, reverse that conviction.
In order to establish grand theft, the state must prove that the property taken has a value of $300 or more. § 812.014(1)(c)1, Fla. Stat. (1989). Although the evidence presented by the state established that the value of the stolen property was more than $100 dollars, the evidence did not establish that the value was $300 or more. Since there was no evidence that the value of the property was $300 or more, the evidence was insufficient to prove the offense of grand theft. In Interest of F.R., 539 So.2d 588 (Fla. 1st DCA 1989). In absence of proof of the value of the stolen property, the adjudication of delinquency based on grand theft should be reduced to petit theft. L.C. and C.F. v. State, 579 So.2d 783 (Fla. 3d DCA 1991).
We reject the appellant's argument concerning the amount of restitution. The evidence in the record concerning the burglary conviction and the appellant's stipulation as to the amount of restitution refute appellant's contention that the amount of restitution was improper.
The adjudication of delinquency for burglary is affirmed. The adjudication of delinquency for grand theft is vacated and we remand with directions that appellant be adjudicated delinquent for petit theft.
Affirmed in part, reversed in part, and remanded.
CAMPBELL, A.C.J., and SCHOONOVER and HALL, JJ., concur.
